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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF GEORGIA
                                   SAVANNAH DIVISION


ALTAMAHA        RIVERKEEPER       and   ONE   *
HUNDRED MILES,                                *
                                              *


        Plaintiffs,                           *
                                              *


                                              *


                 V.                           *              CV 418-251
                                              *


THE UNITED STATES ARMY CORPS OF               *
ENGINEERS;        Lieutenant       General *
TODD       T.     SEMONITE,        in   His *
Official Capacity as Commanding *
General of the U.S. Army Corps *
of Engineers;            Colonel DANIEL *
HIBNER,   in             His    Official *
Capacity as District Commander *
of the Savannah District; TUNIS               *
MCELWAIN,          in     His     Official *
Capacity         as      Chief     of   the *
Regulatory Branch of the U.S. *
Army Corps of Engineers,      *

        Defendants.                           *




                                        ORDER




       Before the Court is Plaintiffs Altamaha Riverkeeper and One

Hundred         Miles'     (collectively,         ''Plaintiffs")   motion   for   a

preliminary injunction.             (Doc. 5.)      In September of 2018, the Army

Corps      of Engineers          ("Corps") issued      a   combined   environmental

assessment and finding of no significant impact (Doc. 5-11) and

granted Sea Island Acquisition, LLC^ a permit (Doc. 5-1).                         On


1 On November 16, 2018, Sea Island Acquisition, LLC filed a motion to intervene
as a defendant. (Doc. 12.) As of the date of this Order, that motion is still
pending.
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October 31, 2018, Plaintiffs concurrently filed a complaint for

declaratory    judgment    (Doc.   1)   and    the    current    motion   for   a

preliminary injunction (Doc. 5).        On November 19, 2018, Defendants

filed a response.     (Doc. 13.)     The following day. Plaintiffs filed

a motion asking the Court to expedite consideration of its motion

for preliminary injunction (Doc. 15) and a reply to Defendants'

response (Doc. 17).       On November 21, 2018, Sea Island Acquisition

filed a motion for a hearing to explain the harm it would suffer

if the injunction were granted.         (Doc. 19.)     On November 30, 2018,

Plaintiffs filed an amended motion for a temporary restraining

order or preliminary injunction (Doc. 21) that did not offer any

new arguments but supplied the Court with an updated photograph of

the ongoing construction. Finally, on December 3, 2018, Defendants

filed a response in opposition to Plaintiffs' amended motion.

(Doc. 22.)

      As a preliminary matter, the Court GRANTS Plaintiffs' motion

to   expedite     consideration      (Doc.     15),     DENIES     Sea    Island

Acquisition's request for a hearing (Doc. 19), and DENIES AS MOOT

Plaintiffs' amended motion (Doc. 21) because Plaintiffs ask for no

new relief.2     The Court now undertakes a decision on Plaintiffs'

motion for a preliminary injunction (Doc. 5).




2 Plaintiffs state, "Because the standards for preliminary relief in either form
are the same, Plaintiffs incorporate all facts and arguments set forth in their
original Motion for Preliminary Injunction."   (Pis.' 7\m. Mot., Doc. 21, at 1.)
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                   I.    FACTUAL AND PROCEDURAL BACKGROUND


        Sea Island Acquisition, LLC (''Sea Island Acquisition"), a

private resort and real estate development company, desires to

build a new development (the "Development") on Sea Island.                    To

"stabilize the eroding beach" in front of the Development, Sea

Island Acquisition sought permission to construct a T-head groin^

("Proposed Groin") immediately south of the Development.                   (See

Dec. 18, 2015 Public Notice, Doc. 13-3, at 1.)              The Proposed Groin

is south of two existing groins — one referred to as the "Southern

Groin"       and   the    other   as   the   "Northern   Groin"   (collectively,

"Existing Groins").           The application also sought authorization to

construct dunes and renourish the beach between the Existing Groins

and Proposed Groin.''

        On   December      18, 2015, the Corps      published notice of the

Project.       (Id.)      Following the initial notice and comment period,

two major hurricanes, Matthew and Irma, caused substantial damage

to Sea Island.           The storms severely eroded the beach face and many

of the frontal dunes on the Spit.^                (Southern Environmental Law




3 A groin is a hard structure, often constructed of rock, concrete, or steel,
that is built perpendicular to a beach to trap or block sand from naturally
flowing with the tides. (Dr. Webb Test., Doc. 5-3, at 4.) Because sand is
trapped, the beach downdrift of a groin may retreat. (Id. at 4.)
  The proposed construction of the groin, renourishment of the beach, and
activities in furtherance thereof are collectively referred to as the "Project."
5 The Spit is located at the southern end of Sea Island and is largely protected
by a conservation easement. (Resp. to Mot. for Prelim. Inj., Doc. 13, at 6
n.5.)   Plaintiffs state it "provides significant habitat for state and federally
protected sea turtles, shorebirds, and other species. . . . [It] is also a
popular recreation area." (Mot. for Prelim. Inj., Doc. 5, at 2.)
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Center (^^SELC") May 23, 2018 Letter, Doc. 5-7, at 4; SELC Feb. 28,

2017 Letter, Doc. 5-8, at 21-22.)       In light of these impacts, on

March 6, 2018, Sea Island Acquisition submitted an addendum to its

2015 permit application seeking authorization to dredge between

1,315,000 and 2,500,000 cubic yards of sand from an offshore source

and to renourish approximately 17,000 linear feet of beach on Sea

Island.   (See Mar. 20, 2018 Public Notice, Doc. 13-4, at 1-2, 16.)

These changes increased the length of the Project from 1,200 linear

feet to approximately 17,000 linear feet, increased the proposed

sand volume from 120,000 cubic yards to up to 2,500,000 cubic

yards, proposed retrieving sand from the ocean instead of an

onshore source, and proposed the use of hydraulic cutterhead

dredges. (Permit SAS-2015-00742, Doc. 5-1, at 1; compare Dec. 18,

2015 Public Notice, Doc. 13-3, at 1-2, with Mar. 20, 2018 Public

Notice, at 1-2.)     Because the proposed changes were substantial,

the Corps issued a new public notice, and Sea Island Acquisition

submitted a supplementary biological assessment.          (Mar. 20, 2018

Public Notice.)


     After reviewing the comments, the Corps, on September 12,

2018, issued    a   permit authorizing     Sea   Island Acquisition to

(1) construct the Proposed Groin on the Spit, (2) dredge between

1,315,000 to 2,500,000 cubic yards of sand from an offshore source,

and (3) renourish more than 17,000 linear feet of beach on Sea

Island.   (Permit SAS-2015-00742.)      Concurrently, the Corps issued
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an environmental assessment C'EA") with a finding of no significant

impact C'FONSI").     (Memo, for Rec. ("MFR"),^ Doc. 5-11.)


                       II. STANDARD OF REVIEW


     A district court has discretion over whether to grant or deny

a preliminary injunction, but the discretion is not unbridled and

must be exercised in light of the four prerequisites for granting

the "extraordinary relief."        Canal Auth. of the State of Fla. v.

Callaway, 489 F.2d 567, 572 (5th Cir. 1974).          A district court may

grant a    preliminary injunction only when a movant shows the

following four prerequisites:

           (1)   [I]t has a substantial likelihood of success
                 on the merits;
           (2)   [T]he movant will suffer irreparable injury
                 unless the injunction is issued;
           (3)   [T]he  threatened   injury  to   the movant
                 outweighs the possible injury that the
                 injunction may cause the opposing party;'' and
           (4)   [I]f  issued,   the  injunction         would     not
                 disserve the public interest.

CBS Broad., Inc. v. EchoStar Commc^ns Corp., 265 F.3d 1193, 1200

(11th Cir. 2001).       A preliminary injunction may not be granted

"unless    the    movant    clearly    establishe[s]     the      ^burden   of

persuasion' as to each of the four prerequisites."                 Sieqel v.

LePore, 234 F.3d 1163, 1176 (11th Cir. 2000) (quoting McDonald's

Corp. V. Robertson, 147 F.3d 1301, 1306 (11th Cir. 1998)). Lastly,

although    preliminary     injunctions     may   properly   be   granted   in


® The MFR contains both the EA and FONSI.
 Prerequisite three is referred to as the "balance of the harms" analysis
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environmental          litigation,     they   ^^have    been   issued        not   merely

because some impact upon the environment has been alleged, but

because     the    threatened        harm   has   been    properly      shown      to   be

irreparable. . . . Indeed, where no irreparable injury is alleged

and proved, denial of a preliminary injunction is appropriate."

Callaway, 489 F.2d at 574.


                              III. DISCUSSION


       The Court finds that Plaintiffs are not substantially likely

to    succeed     on    the   merits,       and   Plaintiffs     will        not   suffer

irreparable injury during the pendency of the suit.                         Although the

balance of the harms and public interest prerequisites may favor

granting     the       injunction.     Plaintiffs       fail   to     show     all   four

prerequisites.          Thus, the Court denies Plaintiffs' motion for a

preliminary injunction.

A. STibstantially Likely to Succeed on the Merits

       Plaintiffs argue: (1) The Corps violated the Clean Water Act

(^"CWA") by issuing the permit when there is a less environmentally

damaging    practicable       alternative; (2) the             Corps    violated        the

National    Environmental       Protection        Act    (^'^NEPA")    by    failing     to

prepare an environmental impact statement; (3) the Corps violated

the CWA and NEPA by failing to adequately evaluate the cumulative

impacts of the authorized project; and (4) the Corps violated the

CWA   and   the Administrative         Procedure Act        {''APA")    by issuing a
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permit without considering that it would exclude the public from

a public beach.     To succeed on the merits, Plaintiffs have to show

the Corps' decisions were "arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law."              5 U.S.C.

§ 706(2)(A); Ga. River Network v. U.S. Army Corps of Eng'rs, No.

4:10-cv-267,    2012   WL    930325,    at   *12    (S.D.   Ga.   Mar.   19,

2012), aff'd, 517 F. App'x 699 (11th Cir. 2013).               The arbitrary

and capricious standard "requires substantial deference to the

agency." Ga. River Network, 2012 WL 930325, at *12 ("The reviewing

court may not substitute its judgment for that of the agency but

must,    instead,   defer   to   the   agency's    technical    expertise.")

(quoting City of Oxford v. F.A.A., 428 F.3d 1346, 1352 (11th Cir.

2005)).

        In determining whether an agency's actions are arbitrary or

capricious, courts "ask whether the agency ^examined the relevant

data and articulated a satisfactory explanation for its action.'"

Black Warrior Riverkeeper, Inc. v. U.S. Army Corps of Eng'rs, 781

F.3d 1271, 1288 (11th Cir. 2015) (quoting Motor Vehicle Mfrs. Ass'n

of U.S. V. State FarmMut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)).

Courts should uphold agency decisions of "less than ideal clarity

if the agency's path may reasonably be discerned." Id. (quotation

omitted).     The court, however, "may not supply a reasoned basis

for the agency's action that the agency itself has not given."

Id. (quoting State Farm, 463 U.S. at 43).
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       1.   Clean Water Act


       Plaintiffs argue the Corps violated the CWA by not adequately

considering less environmentally damaging practicable alternatives

before granting the permit.         Plaintiffs argue the Corps dismissed,

^^without any analysis," nourishment of the beach without a groin.

(Mot. for Prelim. Inj., at 9-12 (emphasis in original).)

       The CWA requires the Corps to consider whether ''there is a

practicable alternative to the proposed discharge which would have

less    adverse     impact   on   the   aquatic    ecosystem."®        40   C.F.R.

§ 230.10(a).        "An alternative is practicable if it is available

and capable of being done after taking into consideration cost,

existing technology, and logistics in light of overall project

purposes."      Id. § 230.10(a)(2).

       Although the Corps analyzed three alternatives that require

beach nourishment without the Proposed Groin, Plaintiffs only

focus   on    one   — on-site     alternative     six:   nourishment    from   the

existing Southern Groin to the end of the Spit.                   (MFR, at 40.)

The Corps found alternative six to be outside the scope of the

Project, thus not practicable, because it would not meet the

overall Project purpose.          (Id.)   The purpose of the Project is to



8 NEPA also requires the Corps to consider alternatives.            42 U.S.C.
§ 4332(2)(C)(iii); 40 C.F.R. § 1508.9(b). The NEPA alternatives analysis "will
in most cases provide the information for the evaluation of alternatives under
[the CWA's] Guidelines."      40 C.F.R. § 230.10(a)(4).      However, only the
alternatives analysis under the CWA requires the Corps to select the alternative
that poses the least detrimental environmental impacts. Id. § 230.10(a).
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''protect upland lots and development located along the shoreline

of Sea Island from storm damage."               (Id.)    According to the Corps,

there is no development upland along the shoreline covered by this

alternative,     nor    could    there     be    development       because   of     the

conservation easement.          (Id.)   This is supported by Dr. Basco, who

stated, "There is a conservation easement that restricts any such

development further south." (Dr. Basco Dep., Doc. 5-12, at 751:20-

22.)     Dr. Basco further stated, "except to strengthen some very

low regions where there[ is] a potential for breaching, there would

be no reason for strengthening the dune" further down the Spit.

(Id. at 752:4-9.)        Thus, any storm protection provided by this

alternative     would    not    serve    to     protect    any   "upland     lots    or

development," making this alternative outside the overall Project

purpose and, therefore, not practicable.                  (MFR, at 40.)

       Additionally, the        Corps found that the storm protection

provided by this alternative would be temporary, only lasting for

a few months.      (Dr. Basco Dep., at 722:17-21 ("I only considered

the concern of a beach nourishment project with no groin in which

the    beach   nourishment       project      was   only    1200    feet.     And     I

immediately concluded that that was not economically feasible

because it would not last more than a few months.").)

        Plaintiffs also fault the Corps for failing to consider if

beach    nourishment     would    work     if    the    nourishment    project      was

extended to the southern tip of the Spit.                 (Mot. for Prelim. Inj.,
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at 12.)      However, according to the MFR, the Supplemental Report of

Dr. Webb acknowledged that even if the beach nourishment project

were extended to almost a mile, the storm protection would still

be temporary.         {MFR, at 28.)       Furthermore, the Corps stated that

Dr. Kana opined that ''a project with such a short half-life is

clearly not a practicable alternative when considering that the

proposal      would      be   outside    the     scope   of the    overall project

purpose."      (Id.)

       Importantly, the Corps also analyzed on-site alternatives

four and five, which both involved beach nourishment without adding

the    Proposed       Groin.      On-site      alternative      four    consisted    of

relocating the existing Southern Groin to the site of the Proposed

Groin and renourishing the beach.                 (Id. at 39.)      The Corps found

this to be a practicable alternative, but not the least damaging

practicable alternative, because by removing the Southern Groin

''it is likely that it would result in the sand bypassing the

southern      end   of    Sea   Island    and     potentially     jetting    the    sand

offshore and completely out of the sand[-]sharing system."                          (Id.

at    43.)     On-site        alternative five       consisted     of    removing   the

Southern Groin altogether and renourishing the beach.                         (Id. at

39.)     The Corps found this not to be a practicable alternative

because "without the [S]outhern [G]roin[,] any sand placed along

the    shoreline . . . would            disseminate      downdrift       quickly"    and

result in only temporary storm protection.                  (Id.)       Long term, the

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result is ''erosion of a portion of the existing storm protection"

and "adverse effects to sea turtles through erosion of nesting

habitat."    (Id. at 40.)

       Although beach nourishment without a groin may be "the most

common configuration for beach nourishment projects in the United

States" (Mot. for Prelim. Inj., at 11), the Corps had to analyze

the Project in light of its purpose, intended long-term effects,

and surroundings. The Court finds the Corps' alternatives analysis

was neither arbitrary nor capricious.

       2. National Environmental Policy Act

       NEPA requires federal agencies to consider the environmental

impact and     potential alternatives for every             proposed "major

Federal action[] significantly affecting the quality of the human

environment."     42 U.S.C. § 4332(2)(C).       NEPA does not set forth

any substantive limits on an agency's decision-making authority,

"[rjather, it require[s] only that the agency take a 'hard look'

at the environmental consequences before taking a major action."

Bait. Gas & Elec. Co. v. Nat. Res. Def. Council, Inc., 462 U.S.

87, 97 (1983).

       NEPA has "twin aims."    Id.       First, requiring an agency "to

consider every significant aspect of the environmental impact of

a proposed action."     Id. (quotation omitted).            Second, ensuring

that    an   agency "will   inform    the   public   that    it   has   indeed

considered environmental concerns in its decisionmaking process."


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Id.     To   achieve    these   aims,   NEPA   requires      agencies to follow

specific procedures.        Sierra Club v. Van Antwerp, 526 F.3d 1353,

1360 {11th Cir. 2008).

       The procedures require an agency to first determine whether

the action is a ^'major action with a significant effect."                Sierra

Club V. U.S. Army Corps of Eng^rs, 295 F.3d 1209, 1214-15 (11th

Cir. 2002) (citation and internal quotation marks omitted).                     To

determine whether the effects are ''significant," the agency must

prepare an EA.         40 C.F.R. § 1501.4; Hill v. Boy, 144 F.3d 1446,

1450 (11th Cir. 1998).          The EA must "include brief discussions of

the need for the proposal, of alternatives as required by section

102(2)(E), of the environmental impacts of the proposed action and

alternatives, and a listing of agencies and persons consulted."

40 C.F.R. § 1508.9(b).

       Whether an impact is "significant" requires consideration of

both "context," the affected region, interests, and locality; and

"intensity," the "severity of impact."                    Id. § 1508.27.        In

analyzing a project's intensity, the agency should consider many

factors, including: (1) Whether the project has "[i]mpacts that

may be both beneficial and adverse"; (2) "The degree to which the
action may adversely affect an endangered or threatened species";

(3) "Unique       characteristics       of   the    geographic    area   such   as

proximity to . . . ecologically critical areas"; and (4) Whether

the    project "is       related   to   other      actions    with individually

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insignificant      but    cumulatively     significant   impacts.         Id.

§ 1508.27(b).

     If the EA shows the effects are significant, the agency must

prepare a more detailed statement of environmental consequences,

known as an environmental impact statement (^^EIS").         Id. § 1501.4.

If the EA shows the effects are not significant, the agency must

prepare a FONSI briefly presenting its reasons for finding no

significant impact.        Id. §§ 1501.4(e), 1508.13.

     Plaintiffs argue the Corps violated NEPA by failing to prepare

an EIS.    (Mot. for Prelim. Inj., at 12.)           Plaintiffs have ''the

burden of showing by a preponderance of the evidence that []

[D]efendants failed to adhere to the requirements of NEPA." Druid

Hills Civic Ass'n v. Fed. Highway Admin., 772 F.2d 700, 709 n.9

(11th Cir. 1985).        The Court can only find the Corps violated NEPA

if its decisions were arbitrary or capricious under the APA.          Black

Warrior Riverkeeper, 781 F.3d at 1288 ("[W]e review an agency's

[FONSI] and decision not to prepare an [EIS], pursuant to NEPA,

under the       same   arbitrary-and-capricious    standard."); see       also

Preserve Endangered Areas of Cobb's History, Inc. v. U.S. Army

Corps of Enq^rs, 87 F.3d 1242, 1247-48 (11th Cir. 1996) (applied

arbitrary and capricious standard to Corps' decision not to prepare

an EIS).



9 Although these are the factors listed by Plaintiffs, they are only four of
ten factors and not the only factors the Corps considered.         40 C.F.R.
§ 1508.27(b).


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     The APA requires courts to give substantial deference to the

Corps, ^^not only when reviewing decisions like what evidence to

find credible and whether to issue a FONSI or EIS, but also when

reviewing drafting decisions like how much discussion to include

on each topic, and how much data is necessary to fully address

each issue."    Ga. River Network, 2012 WL 930325, at *11 (quoting

Van Antwerp, 526 F.3d at 1361). As stated by the Eleventh Circuit,

''Our task ultimately, then, is to 'ensure that the agency took a

"hard look" at the environmental consequences of the proposed

action.'"    Black Warrior Riverkeeper, 781 F. 3d at 1288 (quoting

Sierra Club, 295 F.3d at 1216).

     The    Eleventh   Circuit   has   enunciated   four   criteria    to   be

considered in    determining     whether the   Corps' decision        not to

prepare an EIS was arbitrary and capricious:

      (1) The Corps "must have accurately identified the relevant
             environmental concern";
      (2) The Corps must take a "'hard look' at the problem in
             preparing an EA";
      (3) If a FONSI is made, the Corps "must be able to make a
          convincing case for its finding"; and
      (4) If the Corps finds "an impact of true significance,
             preparation of an EIS can be avoided only if the [Corps]
             finds that changes or safeguards in the                  project
             sufficiently reduce the impact to a minimum."

Hill, 144 F.3d at 1450 (quotation omitted).           When applying this

test, "an agency must consider the direct, indirect, and cumulative

impacts on the environment." Ga. River Network v. U.S. Army Corps

of Enq'rs, 334 F. Supp. 2d 1329, 1335 (N.D. Ga. 2003).



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     Direct impacts ^'are caused by the action and occur at the

same time and place."          40 C.F.R. § 1508.8(a).          If the direct

impacts are ''significant," the permit may require the applicant to

institute mitigation efforts to reduce the impacts to a minimum.

If the mitigation requirements reduce the impacts to a minimum, no

EIS is required.      See 33 C.F.R. § 325.4; Ga River Network, 334 F.

Supp. 2d at 1337 ("So long as significant measures are taken to

mitigate     the   project's     effects,     they   need   not   completely

compensate for the adverse environmental effects.").

     Applying Plaintiffs' chosen 40 C.F.R. § 1508.27(b) factors.

Plaintiffs    argue   the     proposed    project is significant because

(i) it will have adverse impacts, (ii) it will harm endangered and

threatened species, (iii) the geographic area is unique, and

(iv) it is related to other actions with cumulatively significant

impacts.

             a. Adverse Impacts

     Plaintiffs       argue     the   project's      adverse    impacts   are

(1) increasing downdrift erosion and damage to the Spit and

(2) harming wildlife. Applying the Eleventh Circuit's factors for
determining whether an agency's decision not to prepare an EIS is

arbitrary and capricious, the Corps accurately identified the

relevant environmental concern, took a "hard look" at the problem

in preparing the EA, and made a convincing case that adverse



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impacts noted by Plaintiffs were not significant. Thus, the Corps'

decision was neither arbitrary nor capricious.

                    i. Increased      Downdrift Erosion and         Damage to the
                       Spit

       Plaintiffs      accurately      state      it    is   undisputed   that   the

Existing Groins are trapping material (sand, silt, clay, etc.)

that is naturally coming from the north and moving south.                    (Mot.

for Prelim. Inj., at 14-15.)                The Corps does not dispute this

fact.10    The Corps, however, adopts Mr. Conner's expert opinion

that   '^regardless       of      whether   the    []    [P]roposed    [G]roin    is

constructed, the existing hard armoring . . . would continue to

contribute to the erosion of the [S]pit."                    (MFR, at 70.)   Noting

that the Proposed Groin represents only an eight-percent increase,

Mr. Conner further stated, ''[l]t is unlikely that the construction

of a new shorter groin just south of the existing [S]outhern

[G]roin would interrupt sediment transport in any measurable way

under the current system."             (Id.)      Furthermore, the groin's low

profile "would allow sand to pass over and around the structure,"

and the use of armor stone would allow sand to pass through.                     (Id.

at 73.)    Lastly, the Corps found that the introduction of 1.3 to



10 Mr. Kevin Conner, a coastal engineer in the Wilmington District, completed
an independent review of "reports document[ing] the history of shoreline change
on Sea Island and the potential for the project to result in erosion of downdrift
shorelines."      (MFR, at 70.)    Mr. Conner states that the Existing Groins "are
currently trapping some of the material . . . that is naturally coming from the
north[] and moving south. The southern end of the [S]pit is currently eroding
and would continue to erode as long as the existing groin system remains in
place."   (Id.)

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2.5 million cubic yards of sand from an offshore source is likely

to ''allow the beach between the groins to eventually reach an

equilibrium state and thus allow some sand to bypass the groins

and travel downdrift to the [S]pit."         (Id. at 74.)

     As a mitigation effort, the Corps stated that any draft permit

issued for the Project must include requirements to monitor sand

movement within the Southern Groin and Proposed Groin and downdrift

of the groins.     (Id. at 70-71; Permit SAS-2015-00742, at 6.)            If

the results of the monitoring indicate that the Proposed Groin is

trapping sand, Sea Island Acquisition would be required to submit

a corrective action plan.       (Permit SAS-2015-00742, at 6.)

               ii. Harming Wildlife

     Plaintiffs argue the Project will harm federally protected

sea turtles and shorebirds,       essential fish habitats, and pelagic

eggs and larvae of managed species and their prey.               As required

under the Magnuson-Stevens Act, the Corps concluded the Project

would not result in significant impacts and obtained the National

Marine Fisheries Service's ("NMFS") concurrence.             (MFR, at 77-78.)

On April 20, 2018, the NMFS provided the following conservation

recommendations    ("CR"): "(1)      The   T-head   groin    portion   of the

proposed action should not be permitted[;] and (2) To the extent

practicable, work should be limited to seasonal periods of low



  The Court will address Plaintiffs' arguments regarding federally protected
sea turtles and shorebirds in section III(A)(2)(b), infra.

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biological activity."       (NMFS Apr. 20th Letter, Doc. 5-14, at 2.)

On July 17, 2018, the Corps responded stating that it would not

follow CR 1 but would follow CR 2.            {Corps July 17th Letter to

NMFS, Doc. 5-15, at 1-2.)

       As required, the Corps justified the reasons for not following

CR    1.      The   Corps   stated,    first,    the   ''footprint    of    the

project . . . represents          a     relatively      small      area      of

habitat . . . that is utilized by the" wildlife at issue, and

"ample habitat is located both upstream and downstream of the

[P]roject site that these species could relocate to." (Corps July

17th Letter to NMFS, at 1.)           Second, after reviewing reports on

the existing condition of the Sea Island shoreline, the small

proposed increase in the groin field is "not expected to more than

minimally exacerbate ongoing erosion of the [S]pit."               (Id. at 1-

2.)     In incorporating CR 2 as a special condition, the Corps

required all work to be completed between November 1st and April

30th, which is outside the sea turtle nesting season.             (Id. at 2.)

Although not fully satisfied with the Corps July 17th Letter,               the


12 Plaintiffs state the Corps "ignored [NMFS's] concern that the [P]reposed
[G]roin could trap 'pelagic eggs and larvae of managed species and their prey.'"
(Mot. for Prelim. Inj., at 16.) Although the NMFS found the Corps' response to
those concerns insufficient, the Corps still provided its reason for finding
the effects insignificant by stating the affected area is small and there is
ample habitat upstream and downstream from the project for the wildlife.
Ultimately, even with their disagreement, NMFS concluded the Corps complied
with the Magnuson-Stevens Act. (NMFS July 27th Letter, Doc. 5-16, at 2.) Thus,
it was neither arbitrary nor capricious for the Corps to find no significant
effects. S^ Ga. River Network, 334 F. Supp. 2d at 1337 ("Plaintiffs fail to
identify anything from the record showing the Corps ignored a relevant
environmental concern or made a plain error of judgment about the extent of the

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NMFS stated it would ''not further elevate" the Corps' decision and

noted the Corps "has complied with . . . the Magnuson-Stevens Act

and 50 CFR 600.920(k){1)."        (NMFS July 27th Letter, at 1-2.)

            b. Endangered and Threatened Species

       Plaintiffs allege "the Corps should have prepared an EIS

because the [P]reposed [G]roin will harm endangered and threatened

sea turtles and shorebirds.           {Mot. for Prelim. Inj., at 17.)         In

analyzing the impact to sea turtles, the Corps found that the

available beach for turtle nesting has been eroding over time.

(See Dr. Webb Test., at 31.)        The Project, however, includes beach

nourishment that will provide "additional dry sand beach for turtle

nesting."         (MFR, at 49.)    The U.S. Fish and Wildlife Service

("FWS") concurred with the Corps' finding and only recommended

sand    compaction      testing    three    years    following     the    beach

nourishment.^^       (FWS May 22, 2018 Letter, Doc. 5-10, at 1-3.)

       Plaintiffs also note the risk that the Proposed Groin will

trap turtle hatchlings as they swim past the groin.                  The Corps

found this risk minimal because the Georgia Department of Natural

Resources, Wildlife Resources Division's Sea Island Sea Turtle


direct impacts. As such, the Corps' decision that mitigation reduces all direct
impacts to a level that is not significant is neither arbitrary nor
capricious.") •
  Plaintiffs do not challenge the Corps' findings regarding other endangered
or threatened species, including the Atlantic Sturgeon, Shortnose Sturgeon,
West Indian Manatee, and the North Atlantic Right Whale. Thus, the Court does
not evaluate the Corps' findings as to those species.
1'' The Corps adopted this suggestion. The Permit requires Sea Island Acquisition
to complete sand compaction surveys every February for five years and report
annually to the Corps. (Permit SAS-2015-00742, at 3.)

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Program requires relocating sea turtle nests in the area of the

project to a dry sand beach.       {MFR, at 49.) Thus, ^^most hatchlings

would not be found in close proximity to the groin because their

nests would be relocated away from the base of the groin."                  (Id.)

        Regarding shorebirds, the Corps found the Project's impact

would    be    minimal.      Although   erosion   to   the   Spit    does    harm

shorebirds by reducing their habitat, the Corps determined that

the Project would not increase erosion of the Spit in a measurable

amount.       (Id. at 50.)    Furthermore, the piping plover's critical

habitat is located outside the Project site; thus, there will be

no direct effect to its critical habitat.               (Id.)       Lastly, the

Project may potentially expand the habitat for other shorebirds.
(Id.)

        The Corps took a ''hard look" at the Project's impact on

endangered and threatened species and found the impact not
significant.       The FWS agreed with the Corps' findings.                 Having
made a convincing case for its findings, the Corps' decision was

neither arbitrary nor capricious.

               c. Geographic Area is Unique

        Plaintiffs argue the Corps should have prepared an EIS because

the geographic area is unique.           (Mot. for Prelim. Inj., at 20.)
The area is unique because of its proximity to habitats for certain
endangered or threatened species.            However, that conclusion does

not warrant finding for Plaintiffs.           The uniqueness of an area is

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only one of ten factors for an agency to consider, and NEPA only

requires that ''the adverse environmental effects of the proposed

action are adequately identified and evaluated." N. Buckhead Civic

Ass'n V. Skinner, 903 F.2d 1533, 1540 (11th Cir. 1990) (citation

omitted).        The   Corps   properly     identified   and   evaluated    the

uniqueness of the geographic area by analyzing the potential

impacts to wildlife and threatened and endangered species.             Thus,

the Corps' decision not to prepare an EIS was neither arbitrary

nor capricious.

             d. Cumulative Significance

       Plaintiffs argue the Corps should have prepared an EIS because

the    Project    is   related    to   other   actions   with    cumulatively

significant impacts.           Mirroring Plaintiffs' format, the Court

examines this factor in section III(A)(3), infra.

       3. Cumulative Impacts

       Plaintiffs argue the Corps violated the CWA and NEPA by

failing to adequately evaluate the cumulative impacts of the

authorized project. (Mot. for Prelim. Inj., at 20.) Specifically,

Plaintiffs state, "the Corps should have considered the impacts of

other existing and reasonably anticipated shoreline stabilization

or    nourishment projects in the coastal region," including an

"analysis of the entire coastal region or watershed" and "the

entire species habitat or ecosystem."             (Id. at 21.)     Plaintiffs

claim the Corps was "well aware of other existing and proposed

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renourishment projects" and should have extended the geographic

scope of its analysis.       (Id. at 22.)

       Both the CWA and NEPA require a federal agency to analyze the

cumulative impacts of a proposed project in conjunction with other

actions.     40 C.F.R. § 230.11(g); Id. § 1508.27(b)(7); see City of

Oxford, 428 F.3d at 1353.        Cumulative impact is:

         [T]he impact on the environment which results from
         the incremental impact of the action when added to
         other    past,   present,     and    reasonably     foreseeable
         future   actions   regardless       of   what   agency . . . or
         person undertakes such other actions.     Cumulative
         impacts can result from individually minor but
         collectively significant actions taking place over a
         period of time.

40 C.F.R. § 1508.7.


       The Corps considered the cumulative impacts of the Project,

including assessment of the direct and indirect effects,                      and

concluded the Project could cause                 potential impacts to     water

quality, aquatic organisms and wildlife, and the sand-sharing

system.



  In Plaintiffs' reply to Defendants' response, Plaintiffs stated ''the Corps
does not dispute that the geographic scope of its cumulative impacts analysis
is limited to the direct impact zone of the project. Instead, they say that
the Corps should [not] have to consider a larger geographic scope, citing no
authority to support their argument and ignoring the government's own guidelines
on cumulative impacts." (Reply in Supp. of Mot. for Prelim. Inj., Doc. 17, at
8.)    However, Plaintiffs are mistaken.     Defendants state, "[T]he Corps
considered the cumulative impacts of the Project, including assessment of the
direct and indirect effects."     (Resp. to Mot. for Prelim. Inj., at 20.)
Regarding the "larger geographic scope," the Corps detailed the geographic areas
covered as those "that may be impacted with respect to water quality, aquatic
organisms and wildlife, and the applicable sand-sharing system." (Id. at 21.)
The Corps merely disputed the necessity of considering nourishment projects not
within the same sand-sharing system.     (Id.)    At no point does the Corps state
it limited its analysis to the "direct impact zone," or that it should not have
to consider a larger geographic scope.

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             a. Water Quality

       The   Corps   found   the   Project's   individual    and   cumulative

impact on the water quality to be minimal.           ''The re-suspension of

sediments during dredging at the offshore borrow site could result

in minor, temporary adverse impacts to turbidity, total suspended

solids[,] and dissolved oxygen in the water column."                 (MFR, at

72.)    These impacts are not significant, however, because they

would be "short-term and localized."^®         (Id.)

             b. Aquatic Species and Wildlife

       The Corps found the Project's cumulative impact on aquatic

species and wildlife not significant. (Id. at 73.) Cumulatively,
"the project could exacerbate the ongoing erosion of the Spit and
trap sand that would otherwise travel to downdrift shorelines,"
which would reduce habitat for aquatic wildlife.                {Id. at 73.)

However, the Corps found, after examining Mr. Conner's independent

review, it "unlikely that the construction of a new shorter groin

just south of the existing [S]outhern [G]roin would interrupt
sediment transport in any measurable way under the current system.

(Id.)    Thus, the cumulative impact is minimal.             Furthermore, to

ensure the impact is minimal, the permit requires monitoring, and



16 According to th© MFR, "By lottor datod Jun© 8, 2018, th© G©oirgia D©partni©nt
of Natural R©sourc©s, Environm©ntal Protection Division issued th© 401 Water
Quality Certification for the project" because "the project would have a short-
term minor effect on water quality and would not result in adverse cumulative
effects to water quality." (MFR, at 72.) The Parties, however, have not
provided a copy of the June 8th letter for the Court to verify.
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if the Corps determines that ^^the groin is causing negative impacts

to the sand-sharing system, [Sea Island Acquisition] shall submit

a corrective action plan."     {Permit SAS-2015-00742, at 6-7.)

          c. Sand-Sharing System

     Taking   into   account   the    Project's     design   and   special

conditions, the Corps ''determined that the [P]roject would have

minimal individual and cumulative adverse impacts on the sand[-]

sharing system."     (MFR, at 74.)        The Proposed Groin could trap

sand between the Southern Groin and Proposed Groin.          (Id. at 69.)

However, the low profile of the groin "would allow sand to pass

over and around the structure," and the granite armor stone will

allow "sand to pass through the structure."         (Id. at 73.)

     Furthermore, Mr. Conner's independent review examined the

Project area from 1980 through 2023 and found that the Existing

Groins:


      [A]re currently trapping some of the material that is
      naturally coming from the north and moving south. The
      southern end of the [SJpit is currently eroding and
      would continue to erode as long as the existing groin
      system remains in place.            Therefore, regardless of
      whether the new [P]roposed [GJroin is constructed,
      the existing hard armoring . . . would continue to
      contribute to the erosion of the [SJpit. Furthermore,
      the area between the [SJouthern [GJroin and [PJroposed
      [J   [GJroin  represents   only   an   [eight-Jpercent
      increase[J when compared to the area currently between
      the [Njorthern and [SJouthern [GJroins.

(Id. at 74.)     As stated above, Mr. Conner concluded that the

Proposed Groin is.unlikely to interrupt sediment transfer in the


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sand-sharing system "in any measurable way."              (Id. at 73.)      To

ensure    minimal    interruption,     Mr.   Conner   recommended    that   the

construction of the Proposed Groin "be accompanied by the planned

fill placement that is currently proposed as well as the inclusion

of a monitoring plan."         (Id.)   Even though other experts may have

reached    different    conclusions,     when   experts    have   conflicting

views, "an agency must have discretion to rely on the reasonable

opinions of its own qualified experts even if, as an original

matter, a court might find contrary views more persuasive." Marsh

V. Or. Nat. Res. Council, 490 U.S. 360, 378 (1989).               In addition,

the Corps found that the introduction of 1.3 to 2.5 million cubic

yards of sand will likely allow the beach to "reach an equilibrium
state" and allow sand to travel past the groin.             (MFR, at 74.)

     The Corps made a reasonable decision concerning cumulative

impacts.       A cumulative impacts analysis must include:
         (1)    [T]he area in which the effects of the proposed
                project will be felt;
         (2)    [T]he impacts that are expected in that area from
                the proposed project;
         (3)    [0]ther actions - past, present, and reasonably
                foreseeable proposed - that have had or are
                expected to have impacts in the same area;
         (4)    [T]he impacts or expected impacts from these
                actions; and
         (5)    [T]he overall impact that can be expected if the
                individual impacts are allowed to accumulate.

Ga. River Network, 334 F. Supp. 2d at 1341.               The Corps complied

with each factor.         First, the scope of the Corps' cumulative

impacts assessment was "the entire shoreline of Sea Island,

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portions of Gould's Inlet and the Hampton River, and portions of

the adjacent island of St. Simon's Island that may be affected by

the proposed action, and the ocean waters and seafloor offshore of

Sea Island that comprise the proposed borrow site."              (MFR, at 71.)

Second, as discussed above, the Corps analyzed the cumulative

effects that are expected to water quality, aquatic organisms and

wildlife,    and   the    sand-sharing      system.     Third,    the    Corps'

assessment    included     examining   the    past,    present,    and   future

changes to the area from 1980 through 2023.              (Id.)    Fourth, the

Corps examined the impacts from past beach nourishment projects

and the     Existing     Groins.    Fifth, the        Corps found that the

"incremental contribution" from the Project "in relation to the

overall impacts from past, present, and reasonably foreseeable

future activities" is not significant.           (Id. at 75.)

     Because the Corps examined the cumulative impacts of the

Project and satisfied the above five factors before concluding the
cumulative impacts were not significant, the Corps' decision not

to complete an EIS was neither arbitrary nor capricious.

     4. Excluding the Public

     Plaintiffs     argue the      Corps failed to consider that the

Proposed Groin would reduce beach access in violation of 33 C.F.R.

§ 320.4(g)(3).     Section 320.4(g)(3) states that projects should

"generally be denied" if they create "undue interference with

access to, or use of, navigable waters" for "riparian landowners."

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Section 320.4(g)(3) focuses on the need for the agency to consider

a riparian landowner's, not the general public's, ability to access

the navigable waters.          Even considering the public's ability to

use the navigable waters, the Court finds the Corps' analysis was

neither arbitrary nor capricious.              The public is still able to

access the waters by boat.        Furthermore, the Corps noted that there

is currently no public access to the beach on Sea Island by land,

but an ^''unfettered right for any person to land a boat on the

beach."      (MFR, at 22.)

B. XrreparaJble Injury During' "bhe Pendency of the Suit

       Plaintiffs argue they will suffer irreparable injury absent

preliminary relief.         An irreparable injury is one that ^^cannot be

undone through monetary remedies." United States v. Jenkins, 714

F. Supp. 2d 1213, 1221 (S.D. Ga. 2008) (quoting Deerfield Med.
Ctr. V. City of Deerfield Beach, 661 F.2d 328, 338 (5th Cir.

1981)).      Plaintiffs must show irreparable injury is likely, not

just possible.        See Winter v. Nat. Res. Def. Council, Inc., 555
U.S.    7,   22    (2008)    (''possibility" of       harm   standard "is   too

lenient").        Furthermore, the harm "must be likely to occur after

the    [Plaintiffs']        request   for    anFirr    injunction   and   before

resolution of the case on the merits."                Jenkins, 714 F. Supp. 2d

at 1221.


        Plaintiffs do not explain what irreparable harm is likely to

occur during the pendency of the suit.            Plaintiffs only repeat the

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general arguments that "the proposed project will harm the sand-

sharing system, trigger accelerated erosion, [] may cause the Spit

to break apart[,]" and "is also likely to harm federally threatened

and endangered wildlife" - "none of which could be compensated for

with money damages."      (Mot. for Prelim. Inj., at 24.)          Plaintiffs

focus solely on the Proposed Groin without mentioning the beach

nourishment project, which is intended to offset the harm to the

sand-sharing system and to minimize the already-occurring erosion.

Furthermore, the harm to the Spit does not warrant an injunction

because Plaintiffs allege only that the Project "may" cause the

Spit to break apart, not that such harm is likely during the

pendency of this suit, as required.

     Regarding aquatic species, the Corps found the harms would be

minor and short-term, and Plaintiffs do not challenge the Corps'

conclusion as to those findings.            Lastly, construction on the

Project is only allowed from November 1st to April 30th to avoid
posing harm to some endangered and threatened species.               Although

the Court recognizes the importance of preventing environmental

harm. Plaintiffs have failed to carry their burden of showing that

irreparable harm is likely to occur during the pendency of this

suit.




  Although the remaining two prerequisites — balance of the harms and the public
interest — may support granting the preliminary injunction. Plaintiffs must
establish all four prerequisites for the Court to grant the injunction. Having
already found Plaintiffs do not have a substantial likelihood of success on the
merits nor will Plaintiffs suffer irreparable harm during the pendency of the

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                              IV.   CONCLUSION


     Having found Plaintiffs failed to show both a substantial

likelihood    of   success    on    the    merits       and   a    likely   risk   of

irreparable    harm,    the   Court    finds      the    preliminary injunction

unjustified.    Accordingly, the Court DENIES Plaintiffs' motion for

a   preliminary     injunction,           {Doc.   5.)         As   stated   in     the

introduction, the Court GRANTS Plaintiffs' motion to expedite

consideration      of   the   motion      (Doc.    15)    and      DENIES   AS   MOOT

Plaintiffs' amended motion for a preliminary injunction (Doc. 21).

Having denied the injunction on other grounds, the Court also finds

Sea Island Acquisition's motion for a hearing as to its harm

unnecessary; thus, the Court DENIES Sea Island Acquisition's

motion.   (Doc. 19.)

      ORDER ENTERED at Augusta, Georgia, t^jTs                       Y ot December,

2018.



                                       J. R&^DAL HA(r.Ti, CHuEF JUDGE
                                       UNITED ETATES DISTRICT COURT
                                       SOUTHERN DISTRICT -OF GEORGIA




suit, the balance of the harms and public interest prerequisites are not
determinative in this case.


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